UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


LEON D. BLACK,

                      Plaintiff,      Case No.: 21-cv-8824 (PAE)

   v.

GUZEL GANIEVA, WIGDOR LLP,
JOSH HARRIS, and STEVEN RUBENSTEIN,

                      Defendants.




              MEMORANDUM OF LAW IN SUPPORT OF
        DEFENDANT STEVEN RUBENSTEIN’S MOTION TO DISMISS
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                                                                       v
                                        INTRODUCTION

       The amended complaint is a study in sound and fury signifying nothing. Behind the

hyperbolic rhetoric, the threadbare allegations do not come close to stating viable civil RICO or

defamation claims.

       This is especially true with respect to the claims Leon Black asserts against Steven

Rubenstein for civil RICO violations, 18 U.S.C. § 1962(c) (Count I), civil RICO conspiracy, 18

U.S.C. § 1962(d) (Count II), and defamation per se (Count III). The gist of Black’s allegations is

that Rubenstein was paid by Josh Harris to provide public-relations services in support of (a) an

attempted coup by Harris to replace Black as the head of Apollo, and (b) alleged extortion efforts

by Guzel Ganieva, who has accused Black of sexually abusing her for years. See generally

Amended Complaint (“AC”), Dkt. 46, ¶¶ 4, 8, 28, 63. The few specific allegations Black makes

against Rubenstein in connection with this twisted plot, however, cannot give rise to liability, even

were they true. (They are not.)

       Rubenstein is mentioned only a handful of times in Black’s roving nearly 60-page amended

complaint, in allegations made almost exclusively on information and belief. In fact, the full extent

of the supposed racketeering activity by Rubenstein is that he (a) disseminated complaints that

Ganieva filed against Black in New York state court, Ganieva v. Black, Index No. 155262/2021

(N.Y. Sup. Ct. filed June 1, 2021), “to members of the media in an effort to publicize those

allegations” and (b) told “the press that the Manhattan District Attorney’s Office had opened a

criminal investigation into Mr. Black,” all allegedly in exchange for payment from Harris. AC,

Dkt. 46, ¶¶ 114, 117(d), 118(d).

       These allegations against Rubenstein are deficient on every element of civil RICO and

come nowhere close to stating viable claims. Among other things:




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   •   Black cannot plead a cognizable RICO enterprise, given that he can allege no connection
       among its supposed members beyond his own allegations of a scheme against him;

   •   Black cannot plead that Rubenstein directed the affairs of the supposed enterprise;

   •   Black cannot plead that the supposed enterprise engaged in any pattern of criminal conduct
       or poses any threat of continuing criminal activity;

   •   Black cannot plead that Rubenstein engaged in any racketeering activity at all, as the
       alleged actions (even if true) do not remotely approach criminal conduct; and

   •   Black cannot plead he suffered injury other than generalized reputational harm, which is
       not cognizable under RICO.

       At bottom, Black alleges in conclusory fashion that Rubenstein participated in spreading

supposedly false information about Black. Black’s defamation claim is premised on essentially the

same allegations of Rubenstein disseminating information about Ganieva’s state-court litigation

against Black. Id. ¶¶ 135-146. Courts routinely reject plaintiffs’ attempts at what Black tries to pull

off here: transmuting state-law defamation allegations into a federal RICO claim.

       Black’s attempt at alchemy is doubly flawed because even his defamation allegations fail

to state a claim. Black fails to plead when Rubenstein made any alleged false statements or to

whom, other than vague generalities about disseminating Ganieva’s litigation filings to the press.

But even if that happened—which it did not—such activities are privileged reports of official

judicial proceedings under applicable New York law. If all that were not enough, Black also fails

to allege any facts that plausibly suggest Rubenstein acted in reckless disregard of the truth.

       The inadequacy of Black’s pleading is especially striking given that this is his second go-

round. In his original complaint, Black named Wigdor LLP (Ganieva’s attorneys in state court) as

“a willing and critical participant” in a supposed “racketeering scheme,” alongside Ganieva, an

unnamed “Funder,” and unnamed “Flacks.” Complaint, Dkt. 1, ¶¶ 10, 92. Black also sued Wigdor

for defamation. Id. ¶ 113. Wigdor moved to dismiss, highlighting among myriad flaws the utter



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lack of factual detail concerning the supposed “Funder” or “Flacks.” E.g., Defendant Wigdor

LLP’s Memorandum of Law in Support of its Motion to Dismiss (“Wigdor Motion to Dismiss”),

Dkt. 43, at 2, 5-6, 9-10, 12-13, 23. 1 In response, Black filed his amended complaint, alleging a re-

imagined conspiracy in which Wigdor was no longer a part, much less a “critical participant,”

although Black still accuses Wigdor of defamation. Harris and Rubenstein have been added as

defendants, and two PR firms—BerlinRosen and Finsbury Glover Hering—have now assumed the

title of “Flacks.” See AC, Dkt. 46, ¶¶ 4, 27-28, 44. While Black has now named names, the

allegations of the amended complaint remain woefully inadequate. Black does not deserve a third

try.

        Make no mistake: Rubenstein has never spoken, met, or corresponded with Ms. Ganieva

or her representatives. Rubenstein has never publicized her allegations. Contrary to Black’s

allegations, Rubenstein never disseminated Ganieva’s litigation filings to the press; never was

involved in arranging an interview for her; and never told the press that Black was being

investigated by the Manhattan District Attorney. Id. ¶¶ 114(a)-(b), 135. Rubenstein also never

colluded with Harris to launch a coup against Black, and Harris never asked Rubenstein to assist

Ganieva in any way. Id. ¶¶ 4, 114(c). Rubenstein and his firm have never represented, worked for,

or worked on behalf of Ganieva in any capacity, directly or indirectly, formally or informally. And

it is simply untrue that Rubenstein has refused “even just to search for phone records for calls with

Ms. Ganieva.” Id. ¶ 17. To the contrary, Rubenstein has informed Black that no such records exist.

Ganieva v. Black, Index No. 155262/2021, Dkt. 137, at 1-2, 5; id., Dkt. 120, at 5-7; id. Dkt. 116.

        Nevertheless, whether for purposes of distraction or from the depths of desperation, Black

chose to name Rubenstein as a defendant in this suit, on the thinnest of allegations, none of which


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the ECF system.


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state facts with respect to Rubenstein that plausibly amount to violations of civil RICO or

defamation. Black’s claims against Rubenstein should be dismissed with prejudice.

                                       LEGAL STANDARD

        “To survive a motion to dismiss, a complaint must contain sufficient factual matter,

accepted as true, to state a claim to relief that is plausible on its face.” Ashcroft v. Iqbal, 556 U.S.

662, 678 (2009) (internal quotations and citation omitted). “A claim has facial plausibility when

the plaintiff pleads factual content that allows the court to draw the reasonable inference that the

defendant is liable for the misconduct alleged.” Starr v. Sony BMG Music Ent., 592 F.3d 314, 321

(2d Cir. 2010) (quoting Iqbal, 556 U.S. at 678) (internal alteration omitted). “Given the powerful

incentive for plaintiffs to attempt to fit garden variety fraud claims within the standard of civil

RICO due to the allure of treble damages, attorney’s fees, and federal jurisdiction, courts must

scrutinize civil RICO claims early in the litigation to separate the rare complaint that actually states

a claim for civil RICO from that more obviously alleging common law fraud.” Rajaratnam v.

Motley Rice, LLC, 449 F. Supp. 3d 45, 64 (E.D.N.Y. 2020) (internal quotations and citation

omitted); Katzman v. Victoria’s Secret Catalogue, 167 F.R.D. 649, 655 (S.D.N.Y. 1996), aff’d,

113 F.3d 1229 (2d Cir. 1997) (“Civil RICO is an unusually potent weapon—the litigation

equivalent of a thermonuclear device. Because the mere assertion of a RICO claim . . . has an

almost inevitable stigmatizing effect on those named as defendants, . . . courts should strive to

flush out frivolous RICO allegations at an early stage of the litigation.” (internal quotations and

citations omitted)).

                                            ARGUMENT

I.      Black’s Civil RICO Claims Against Rubenstein Should Be Dismissed

        To state a claim under civil RICO, 18 U.S.C. § 1962(c), Black must allege (1) that

Rubenstein (2) through the commission of two or more acts (3) constituting a “pattern” (4) of


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“racketeering activity” (5) directly or indirectly invests in, or maintains an interest in, or

participates in (6) an “enterprise” (7) the activities of which affect interstate or foreign commerce.

Hinterberger v. Cath. Health Sys., Inc., 536 F. App’x 14, 16 (2d Cir. 2013). To state a RICO

conspiracy claim, 18 U.S.C. § 1962(d), Black must allege Rubenstein “agreed to participate in the

affairs of the enterprise through a pattern of racketeering activity.” United States v. Yanotti, 541

F.3d 112, 121 (2d Cir. 2008). Black’s amended complaint is deficient on every front.

       A.      Black Cannot Plead A RICO Enterprise

       This case could begin and end with Black’s inability to plead any cognizable RICO

“enterprise.” The only connection among the members of the supposed enterprise is that they

allegedly contributed to the scheme against Black. Under black-letter law in this Circuit, that is

insufficient. Black’s vague and conclusory allegations about the structure and purpose of any

enterprise, moreover, do not even begin to pass muster.

       To establish a RICO “enterprise,” a plaintiff must show “an ongoing organization, formal

or informal,” in which the “various associates function as a continuing unit.” Boyle v. United

States, 556 U.S. 938, 945 (2009) (quoting United States v. Turkette, 452 U.S. 576, 583 (1981)).

The “enterprise must have at least three structural features: a purpose, relationships among those

associated with the enterprise, and longevity sufficient to permit these associates to pursue the

enterprise’s purpose.” Id. at 946. And it must exist “separate and apart from the pattern of activity

in which it engages.” Turkette, 452 U.S. at 583.

       Black’s amended complaint is deficient in every respect. First, and foremost, Black fails

to allege that the alleged enterprise exists “separate from” the alleged racketeering acts. See First

Cap. Asset Mgmt., Inc. v. Satinwood, Inc., 385 F.3d 159, 173 (2d Cir. 2004); Bangl. Bank v. Rizal

Com. Banking Corp., No. 19 Civ. 983, 2020 WL 1322275, at *8 (S.D.N.Y. Mar. 20, 2020)

(describing the “explicit directive that allegations of illegal conduct separate from the racketeering


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acts are a requirement in this Circuit” (internal quotations and citation omitted)); Mikhlin v. HSBC,

No. 08-CV-1302, 2009 WL 485667, at *3 (E.D.N.Y. Feb. 26, 2009) (“If the sole purpose of the

alleged enterprise is to perpetuate the alleged fraud, there can be no enterprise for RICO purposes.”

(citation omitted)). The amended complaint includes no allegations about the defendants’

association with each other other than their supposed “cancellation campaign” against Black. AC,

Dkt. 46, ¶ 18. Because Black has merely “grouped together” the defendants “for the sole reason

that they all allegedly had a hand” in the alleged scheme to cancel him, Black fails to plead a

cognizable RICO “enterprise.” See Hoatson v. New York Archdiocese, No. 05 Civ. 10467, 2007

WL 431098, at *3 (S.D.N.Y. 2007), aff’d, 280 F. App’x 88 (2d Cir. 2008).

        Second, the amended complaint includes only the vaguest allegations of the structure of

any enterprise. Black fails to plead specific facts about the supposed interrelationships among the

members of the supposed enterprise, and does not and cannot allege that Rubenstein had any

association with Ganieva at all. The closest it comes is describing Harris as having a “war cabinet,”

AC, Dkt. 46, ¶ 4, and an “unholy alliance” with Ganieva, id. ¶ 8, whatever that means. There is

nothing close to the “solid information” regarding the “hierarchy” and “organization” required to

plead an “association-in-fact enterprise.” First Cap., 385 F.3d at 174 (citation omitted).

        Third, Black fails to plausibly allege any coherent common purpose. Black alleges that

Harris and his supposed “war cabinet” acted with the purpose of “destroy[ing] Mr. Black” so that

Harris could “salvage one last chance at the promotion he had always wanted but never received.”

AC, Dkt. 46, ¶ 4. There is no allegation that Ganieva shared any purpose to promote Harris’s career

at Apollo. Rather, Black alleges that Ganieva’s purpose was to obtain money from Black—i.e.,

that she extorted Black for years by “threatening to distort and disclose their relationship.” Id. ¶ 2. 2


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 Of course, neither of these purposes makes sense to begin with. Black recognizes that any ability Ganieva had to
“extort” Black ended when she made her accusations public in March 2021. AC, Dkt. 46, ¶ 2 (calling Ganieva’s public


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Black does not allege that any other alleged member of the enterprise acted with the purpose of

obtaining money from Black.

         B.        Black Cannot Plead Rubenstein Conducted The Affairs Of Any Enterprise

         Black also does not and cannot allege that Rubenstein “conducted or participated” in the

affairs of any RICO enterprise, which requires pleading facts that, if true, would establish that

Rubenstein “participated in the operation or management of the enterprise itself” and had “some

part in directing” its affairs. Reves v. Ernst & Young, 507 U.S. 170, 177-185 (1993).

         The “operation and management” test is a “very difficult test to satisfy,” particularly in

claims against service professionals like Rubenstein. Zhu v. First Atl. Bank, No. 05 Civ. 96, 2005

WL 2757536, at *5 (S.D.N.Y. Oct. 25, 2005) (citation omitted). Because providing “professional

services” does “not require taking part in the direction of the enterprise’s affairs,” the provision of

such services “in itself is insufficient to meet RICO’s participation requirement.” Tech. in P'ship,

Inc. v. Rudin, No. 10 Civ. 8076, 2011 WL 4575237, at *4 (S.D.N.Y. Oct. 4, 2011); id. ([T]he

plaintiff cannot simply allege that certain entities provided services which were helpful to an

enterprise; the complaint must allege that those entities exerted any control over the enterprise.”

(citation omitted)).

         Black does not and cannot plead that Rubenstein “directed” or “controlled” anything about

the enterprise. Just the opposite, the amended complaint alleges that Rubenstein “worked under

Mr. Harris’s direction.” AC, Dkt. 46, ¶ 4. And given that Black cannot even muster factual



revelations “economically irrational and inexplicable”). And Black recognizes that his successor at Apollo had already
been named before Harris embarked on his supposed scheme to take Black down. Id. ¶ 4. The internally contradictory
nature of Black’s allegations alone is sufficient reason not to credit them. Barberan v. Nationpoint, 706 F. Supp. 2d
408, 424 (S.D.N.Y. 2010) (“[A]lthough the Court accepts Plaintiffs’ factual allegations as true, the Court is not
required to accept as true pleadings that are directly contradicted by other factual statements . . . .”); In re Livent, Inc.
Noteholders Sec. Litig., 151 F. Supp. 2d 371, 405 (S.D.N.Y. 2001) (“[A] court need not feel constrained to accept as
truth conflicting pleadings that make no sense, or that would render a claim incoherent, or that are contradicted . . . by
statements in the complaint itself . . . .”).


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allegations plausibly suggesting that Harris directed any racketeering activity, the amended

complaint doubly fails to allege any direction of a RICO enterprise on Rubenstein’s part. While

pleading the “conduct” element should be a “low hurdle” in any remotely viable civil RICO claim,

Black cannot even allege that Rubenstein “played some part in directing the enterprise’s affairs.”

Conte v. Newsday, Inc., 703 F. Supp. 2d 126, 135 (E.D.N.Y. 2010) (internal quotations and citation

omitted).

        In fact, the only two acts of racketeering activity specifically charged against Rubenstein

involve his allegedly (a) disseminating Ganieva’s complaints to the press, and (b) telling the press

that Black was under investigation by the Manhattan DA, in exchange for payment from Harris.

AC, Dkt. 46, ¶¶ 114, 117(d), 118(d). Even taking those allegations as true (which they are not),

they amount to an allegation that Harris paid Rubenstein to engage in the most ministerial of

public-relations tasks: providing already-public information to the press. See Ganieva v. Black,

Index No. 155262/2021, Dkt. 1 (Complaint), 26 (Amended Complaint), 47 (Proposed Second

Amended Complaint); AC, Dkt. 46, ¶ 99 (alleging in Black’s own amended complaint that it is

“understood that the Manhattan District Attorney as a matter of policy is obligated to examine

every complaint of sex abuse”). 3

        Those allegations—of workaday PR services allegedly conducted at Harris’s direction—

amount to nothing even remotely close to Rubenstein’s “direction” or “control” of any racketeering

enterprise on Rubenstein’s part. At most, Black alleges that Rubenstein provided a discrete set of

professional services that ultimately might have benefited the alleged enterprise. That is

insufficient to state a claim. See Vasquez v. H.K. & Shanghai Banking Corp. Ltd., No. 18 Civ.



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  Rubenstein’s alleged participation in already-public petitioning activity also immunizes any such conduct under the
Noerr-Pennington doctrine, as argued by Wigdor in its motion to dismiss the original complaint. See Wigdor Motion
to Dismiss, Dkt. 43, at 14-15.


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1876, 2019 WL 2327810, at *14 (S.D.N.Y. May 30, 2019) (“Providing important services to a

racketeering enterprise is not the same as directing the affairs of an enterprise. . . . Even provision

of services essential to the operation of the RICO enterprise itself is not the same as participating

in the conduct of the affairs of the enterprise.” (cleaned up) (citation omitted)); Democratic Nat’l

Comm. v. Russian Fed’n, 392 F. Supp. 3d 410, 441 (S.D.N.Y. 2019) (noting the “operation and

management      test   is   an   extremely    rigorous    test,”   and   “it   is   not   enough    to

merely take directions and perform tasks that are necessary and helpful to the enterprise” nor to

“simply provide goods and services that ultimately benefit the enterprise” (cleaned up) (citation

omitted)).

       C.      Black Cannot Plead Rubenstein Engaged In Any Racketeering Activity

       Next in the litany of the amended complaint’s fatal flaws is that it does not allege

Rubenstein engaged in any racketeering activity whatsoever.

       As discussed above, there are only two acts of supposed racketeering activity alleged

against Rubenstein: that he, at unspecified times, to unspecified persons, allegedly (a) disseminated

Ganieva’s complaints to the press, and (b) told the press that Black was under investigation by the

Manhattan DA, in exchange for payment from Harris. AC, Dkt. 46, ¶¶ 114, 117(d), 118(d). As if

those allegations weren’t thin enough already, Black makes those allegations solely on information

and belief. Id. And as if those allegations weren’t vague enough already, they also indicate that

some unspecified set of the so-called “Flacks” were involved in these same acts in some

unspecified way. Id. Black is lightyears from adequately pleading that Rubenstein engaged in any

predicate violations of the Hobbs Act, 18 U.S.C. § 1951, or the mail and wire fraud statutes, 18

U.S.C. §§ 1341, 1343, as alleged in the amended complaint. AC, Dkt. 46, ¶¶ 117(d), 118(d).

       Privileged Litigation Activity. As an initial matter, the allegations concerning Rubenstein’s

alleged dissemination of Ganieva’s complaints cannot constitute predicate acts of extortion, or


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mail and wire fraud. Ganieva’s litigation against Black cannot serve as a RICO predicate as a

matter of law, no matter how baseless or frivolous Black says that litigation may be. Kim v. Kimm,

884 F.3d 98, 105 (2d Cir. 2018) (“[W]here, as here, a plaintiff alleges that a defendant engaged in

a single frivolous, fraudulent, or baseless lawsuit, such litigation activity alone cannot constitute a

viable RICO predicate act.”); Ritchie v. N. Leasing Sys., Inc., No. 12-CV-4992, 2016 WL 1241531,

at *13 (S.D.N.Y. Mar. 28, 2016), aff’d, 701 F. App’x 45 (2d Cir. 2017) (“The law is clear that

litigation—even if frivolous or malicious—cannot constitute extortion.”); see also Wigdor Motion

to Dismiss, Dkt. 43, at 4-9. Rubenstein’s alleged dissemination of Ganieva’s complaints adds

nothing to the public filing of those complaints on the docket, and likewise cannot constitute

extortion or mail and wire fraud.

       In any event, even without a categorical exemption for litigation activities as predicate acts,

Black fails to plead Rubenstein engaged in any predicate Hobbs Act or mail and wire fraud

violations.

       No Hobbs Act Violation. Black has not pleaded Rubenstein engaged in any predicate

violations of the Hobbs Act. The Hobbs Act prohibits extortion “that affects interstate commerce,”

with extortion defined as “the obtaining of property from another, with his consent, induced by

wrongful use of actual or threatened force, violence, or fear.” United States v. Kirsch, 903 F.3d

213, 221 (2d Cir. 2018) (citation and emphasis omitted).

       To start, Black’s allegations are so conclusory as to leave him unable to meet the interstate-

commerce element. As best one can tell from the amended complaint, all of the alleged activity

took place within New York. Rubenstein is a New York resident, AC, Dkt. 46, ¶ 28, and the

amended complaint does not specify to whom Rubenstein allegedly disclosed information or

whether those individuals were located anywhere other than New York. And the alleged




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extortion—putting aside the myriad other flaws discussed below—appears to involve further

payments from Black to Ganieva, both of whom are New York residents, id. ¶¶ 22, 25.

       The amended complaint likewise fails to allege, other than in conclusory fashion, that

Rubenstein obtained or attempted to obtain any property from Black. There is no allegation that

Rubenstein ever requested any property from Black whatsoever, through threats or otherwise.

       Nor does the amended complaint allege that Rubenstein threatened any force, violence, or

fear. At most, the amended complaint alleges that Rubenstein helped spread falsehoods about

Black, which courts have routinely found cannot amount to federal Hobbs Act extortion or civil

RICO. Entretelas Americanas S.A. v. Soler, No. 19 Civ. 3658, 2020 WL 9815186, at *10

(S.D.N.Y. Feb. 3, 2020), aff'd, 840 F. App’x 601 (2d Cir. 2020) (finding an “absence of allegations

of force, violence or fear” when the complaint alleged the defendant had made “false allegations”

about the plaintiff); Conte, 703 F. Supp. 2d at 137 (“[P]laintiff’s allegations that defendants

threatened to defame him are insufficient for plaintiff's RICO claim.”).

       No Mail or Wire Fraud. Black also fails to plead the elements of mail and wire fraud against

Rubenstein: “(1) a scheme to defraud[;] (2) money or property as the object of the scheme[;] and

(3) use of the mails or wires to further the scheme.” Rajaratnam, 449 F. Supp. 3d at 68 (citation

omitted). As fraud-based predicates, wire fraud and mail fraud “must be pleaded with particularity

in accordance with Federal Rule of Civil Procedure 9(b)”; the particularity requirement extends

“to each defendant.” Id. (citations omitted).

       The amended complaint contains none of the particulars required to satisfy Rule 9(b).

Aside from generically alleging Rubenstein helped disseminate false statements about Black, the

complaint lacks any information about “when and where such statements were made”—which, in

addition to lacking adequate particularity, again leaves Black unable to demonstrate any




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connection to interstate commerce. Jus Punjabi, LLC v. Get Punjabi Inc., No. 14-CV-3318, 2015

WL 2400182, at *5 (S.D.N.Y. May 20, 2015), aff’d, 640 F. App’x 56 (2d Cir. 2016).

       Additionally, given that Rubenstein is lumped in indiscriminately with the other so-called

“Flacks,” the amended complaint fails to “identify which defendant caused each allegedly

fraudulent statement to be spoken, written, wired or mailed, and to whom the communication was

made; when the communication was made; and how it advanced the fraudulent scheme.” Conte,

703 F. Supp. 2d at 137; Rajaratnam, 449 F. Supp. 3d at 68 (explaining that for “each defendant”

a “complaint must specify the time, place, speaker, and content of the alleged misrepresentations”

and “explain how the misrepresentations were fraudulent” (citation omitted)).

       Black also fails to plead any “events which give rise to a strong inference” that Rubenstein

had “intent to defraud, knowledge of the falsity, or a reckless disregard for the truth.” Rajaratnam,

449 F. Supp. 3d at 68 (citation omitted). The amended complaint does not even make clear who

supposedly was being defrauded, let alone any intent to defraud them. While the amended

complaint includes allegations about information that Black says discredits Ganieva’s accusations

against him, there are no allegations that Rubenstein was even aware of that information, knew of

or understood its implications, or in any way acted in reckless disregard of such information. And,

at minimum, there are no allegations of any facts that could provide a “strong inference” that

Rubenstein acted with fraudulent intent simply by circulating already-public information about

Ganieva.

       At bottom, again, Black’s trumped-up accusations that Rubenstein helped disseminate false

information about him cannot be transmuted into a mail or wire fraud claim constituting a civil

RICO predicate. Rajaratnam, 449 F. Supp. 3d at 73 (“Just as courts are loath to permit litigation

activities to be shoehorned into civil RICO predicates, courts express similar reticence towards




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attempts to recast defamatory statements as mail and wire fraud violations. The mere fact that a

statement is negative or even defamatory . . . does not make it fraudulent.” (internal quotations and

citation omitted)).

       D.      Black Cannot Plead A Pattern Of Racketeering Activity

       Even if Black could plead the required two predicate acts within the last ten years—which,

as discussed, he cannot—Black cannot plead a “pattern” of racketeering activity.

       No Required Continuity. Black cannot plead the “continuity” required to show a pattern of

racketeering activity. A pattern requires that “the racketeering predicates are related, and that they

amount to or pose a threat of continued criminal activity.” See H.J. Inc. v. Nw. Bell Tel. Co., 492

U.S. 229, 239 (1989). “The latter so-called ‘continuity’ requirement can be satisfied either by

showing a ‘closed-ended’ pattern—a series of related predicate acts extending over a substantial

period of time—or by demonstrating an ‘open-ended’ pattern of racketeering activity that poses a

threat of continuing criminal conduct beyond the period during which the predicate acts were

performed.” Spool v. World Child Int’l Adoption Agency, 520 F.3d 178, 183 (2d Cir. 2008).

       Given that Black alleges a narrow scheme to harm only him, he cannot establish the

requisite closed- or open-ended continuity. See Sehgal v. Aggarwal, No. 20-CV-4577, 2021 WL

3617479, at *4 (E.D.N.Y. Aug. 16, 2021) (“Courts have uniformly and consistently held that

schemes involving a single, narrow purpose and one or few participants directed towards a single

victim do not satisfy the RICO requirement of a closed or open pattern of continuity.” (cleaned

up)); Grace Int'l Assembly of God v. Festa, 797 F. App’x 603, 605 (2d Cir. 2019) (stating that a

scheme that, “[a]t bottom,” has a “limited goal” of harming just a single victim or even a “few

victims” does not satisfy the requirement of closed-ended continuity); Spool, 520 F.3d at 186 (2d

Cir. 2008) (holding that an “inherently terminable” scheme does not pose threat of continued

criminal activity, thereby precluding the plaintiff from alleging open-ended continuity).


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         All of the supposed racketeering activity in the amended complaint is directed at Black.

Black alleges the enterprise extorted him. AC, Dkt. 46, ¶ 117. Black alleges the enterprise used

the mails and wires to obtain money from him under fraudulent pretenses. Id. ¶ 118. The only

ongoing conduct of the alleged enterprise that Black can conjure is Ganieva’s prosecution of

already-filed litigation against him. Id. ¶ 122. Black fails to plead any facts that permit the

inference of any “threat of continued criminal activity.” Spool, 520 F.3d at 185 (citation omitted).

         In an apparent effort to cure his obvious pleading deficiency, Black adds that Apollo was

another supposed “victim” of the enterprise. AC, Dkt. 46, ¶ 124. The mere addition of Apollo,

however, does not solve the problem, as Black still at best identifies a scheme with only a “few

victims,” which remains insufficient. Festa, 797 F. App’x at 605. But, regardless, Black’s

allegations regarding Apollo come nowhere close to pleading “continuity” of a criminal enterprise.

Black alleges no racketeering activity against Apollo. Black alleges no scheme or purpose to harm

Apollo. The harm Apollo is alleged to have suffered is entirely derivative of the alleged scheme to

harm Black. And Black at most alleges that the supposed racketeering activity caused Apollo

“reputational harm,” which is not even a cognizable RICO injury, as discussed further below. See

infra Part I.E. 4

         No Pattern or Threat of Continued Criminal Activity by Rubenstein. Black’s allegations of

a “pattern” of racketeering activity by Rubenstein are especially thin and far from sufficient. The

paragraphs specifying the predicate acts allegedly committed by Rubenstein—namely, alleged

extortion and mail/wire fraud by virtue of disseminating Ganieva’s litigation documents and telling



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  Black also fails to plead closed-ended continuity given the limited duration of the alleged scheme. The racketeering
activity alleged against all members of the supposed enterprise except Ganieva relate to or otherwise appear to post-
date Ganieva’s defamation suit against Black from June 2021. AC, Dkt. 46, ¶¶ 117(d), 118(d). Those alleged predicate
acts, apparently dating back less than a year, fall well short of the requirements for closed-ended continuity. Reich v.
Lopez,       858       F.3d      55,      60       (2d      Cir.       2017)     (“[T]his Circuit generally requires that
the crimes extend over at least two years.”).


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the press about a Manhattan DA investigation, AC, Dkt. 46, ¶¶ 117(d), 118(d)—all implicate

Rubenstein in a singular, narrow scheme to harm Black, such that those allegations cannot support

“continuity.” There are only two other portions of the amended complaint that go beyond

generalities or conclusory statements to allege any facts about Rubenstein’s conduct. Neither of

them allege any racketeering activity at all, and regardless neither demonstrates any “pattern” of

racketeering activity on the part of Rubenstein or a threat of any continuing criminal activity.

        First, Black alleges, solely on information and belief, that “Mr. Rubenstein and his team

planted a hit job story with the New York Post attacking” Siddhartha Mukherjee, a new Apollo

board member. Id. ¶ 57. The allegations, however, provide no detail about Rubenstein’s or his

team’s supposed involvement with the article or its contents. (Unsurprising, because they did not

plant the story.) Nor does the amended complaint allege how the conduct was supposedly criminal

or constituted racketeering, or even what specifically was false about the article. There is also no

allegation that Mr. Mukherjee was harmed, but at most one could again infer only the non-

cognizable RICO injury of reputational harm. 5 There are no factual allegations here to permit a

plausible inference of a pattern of racketeering activity.

        Second, Black alleges that “Mr. Rubenstein and the Flacks” were involved in “setting up

an interview with the New York Post” and Ganieva. Id. ¶ 135. To start, the amended complaint

fails to plausibly allege facts indicating that Rubenstein personally had any involvement in setting

up the interview. The allegation lumps Rubenstein indiscriminately alongside the “Flacks,” leaving

no indication of which of them supposedly set up the interview. The only other facts about the

interview alleged by Black are that Rubenstein’s firm, Rubenstein Associates, was “particularly



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 The amended complaint goes on to reference another supposedly defamatory article concerning another Apollo board
member, Pamela Joyner, but does not include any allegation that Rubenstein was involved in that article in any way.
AC, Dkt. 46, ¶ 58.


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close to” Josh Kosman, the reporter with the New York Post with whom “[a]n interview was

arranged” with Ms. Ganieva. Id. ¶ 66. Beyond that innuendo and conspicuous use of the passive

voice, the amended complaint does not and cannot plead that Rubenstein himself was in any way

involved in setting up the interview—not even on information and belief. (Because he was not;

and neither, for that matter, was his firm.)

       In any event, even if it were true, Rubenstein’s allegedly facilitating an interview between

Ganieva and the Post also supports no pattern of racketeering activity. Black does not and cannot

explain how such conduct is anywhere close to criminal or constitutes the conduct of a RICO

enterprise. There is no allegation that the interview was Rubenstein’s idea, or that he knew what

Ganieva would be asked or would say during the interview. There is no allegation that the

interview could have caused any injury other than non-cognizable reputational harm to Black. And

the alleged conduct provides no plausible inference of criminal activity that would continue

beyond the alleged scheme to harm Black. Even if true (and again, it is not), the alleged conduct

would add nothing to Black’s attempt to demonstrate a “pattern” of racketeering.

       E.      Black Cannot Plead Cognizable Injury

       Black has not pleaded any of Rubenstein’s alleged racketeering activity caused him

cognizable harm. The only concrete damages Black can allege are the amounts he paid to Ganieva

prior to making her accusations against him public in March 2021. AC, Dkt. 46, ¶ 123. Black does

not and cannot connect such damages to anything done by Rubenstein, let alone any of the

racketeering activity in which Rubenstein was allegedly involved as part of the supposed

enterprise—all of which, as already discussed, involves events related to and post-dating

Ganieva’s bringing suit against Black in June 2021. Id. ¶¶ 117(d), 118(d). There is no plausible

allegation that any amounts Black paid to Ganieva were “by reason of” any action of Rubenstein.

First Nationwide Bank v. Gelt Funding Corp., 27 F.3d 763, 769 (2d Cir. 1994).


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         Black otherwise alleges only vague and conclusory “loss of business opportunities” that do

not constitute cognizable RICO injury. Id. ¶ 123. Generalized reputational harm is not sufficient

to plead injury to business or property for purposes of a civil RICO claim. Petroff Amshen LLP v.

Alfa Rehab PT PC, No. 19-CV-1861, 2021 WL 960394, at *12 (E.D.N.Y. Mar. 15, 2021)

(collecting cases). Black’s reference to the “costs defending against Defendants’ sham lawsuits

and media campaign,” AC, Dkt. 46, ¶ 123, is just a variation on his non-cognizable reputational

harm damages. In fact, costs incurred to mitigate reputational harm are a classic defamation

damages remedy, Houston v. N.Y. Post Co., No. 93 CIV. 4408, 1997 WL 10034, at *6 (S.D.N.Y.

Jan. 10, 1997), and Black’s assertion of such damages in connection with his RICO claim is yet

another marker of the effort to improperly federalize his (also meritless) state-law allegations. 6

         F.       Black Cannot Plead Rubenstein Participated In Any RICO Conspiracy

         Given the myriad deficiencies in Black’s substantive RICO claims, as well as the wholly

conclusory allegations of any agreement to participate in a RICO enterprise or pattern of

racketeering activity, the conspiracy claim likewise should be dismissed. See, e.g., Rosner v. Bank

of China, 528 F. Supp. 2d 419, 428 (S.D.N.Y. 2007) (declining to consider a RICO conspiracy

count under § 1962(d) when the complaint failed to adequately allege a substantive RICO violation

under §§ 1962(a), (b), or (c)).

II.      Black’s Defamation Claim Against Rubenstein Should Be Dismissed

         Black’s gambit to plead his defamation allegations as a civil RICO claim is all the more

improper given that Black cannot plead a viable defamation claim against Rubenstein in the first

place. Black’s defamation claim against Rubenstein should be dismissed.



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  On the issue of litigation costs, Black’s claim against Rubenstein also fails because Rubenstein is not a lawyer and
is not alleged to have had any role in instituting or prosecuting Ganieva’s lawsuit against Black. No action of
Rubenstein’s is alleged to, nor could have, caused Black to incur litigation costs.


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       A.      Black Cannot Plead Rubenstein Made Any Non-Privileged Publications

       With limited exceptions discussed below, the entirety of Black’s defamation allegations

against Rubenstein is that Rubenstein participated in disseminating Ganieva’s litigation filings to

the press. See generally AC, Dkt. 46, ¶¶ 136-48.

       Black has not even met the basic requirements of notice pleading as to those allegations,

failing to provide any detail on when or to whom Rubenstein allegedly made any defamatory

statements, beyond vague allegations that he or Wigdor or the “Flacks” provided Ganieva’s

litigation filings to “the press,” e.g., id. ¶ 138. Sparrow Fund Mgmt. LP v. MiMedx Grp., Inc., No.

18 Civ. 4921, 2020 WL 1330283, at *7 (S.D.N.Y. Mar. 22, 2020) (“A defamation claim is only

sufficient if it adequately identifies the purported communication, and an indication of who made

the communication, when it was made, and to whom it was communicated.” (citation omitted)).

Among other problems, the lack of specificity makes it impossible to discern from the amended

complaint what supposedly defamatory statements were in any of the particular litigation filings

Rubenstein himself supposedly disseminated, and whether any of the alleged defamatory

statements in those filings were actually false statements of fact as opposed to any of the various

non-actionable statements of opinion or rhetoric described in the amended complaint.

       But, in all events, Black’s defamation allegations are irreparably flawed in substance as

well. Rubenstein’s alleged dissemination of litigation materials and accurate reports of litigation

materials, even if true, would be protected under New York’s privilege for fair and true reports of

any “judicial proceeding” or other “official proceeding.” N.Y. Civ. Rights Law § 74; Wexler v.

Allegion (UK) Ltd., 374 F. Supp. 3d 302, 311 (S.D.N.Y. 2019) (“The statute confers an absolute

immunity, regardless of proof of malice or negligence, upon any person who publishes a ‘fair and

true report’ of a judicial proceeding.” (internal alterations and citation omitted)).

       Recognizing that the “fair and true report” privilege clearly precludes liability here, Black


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tries to plead around it by invoking the “sham pleading” rule. The “sham pleading” exception to

the “fair and true report” privilege is exceedingly narrow, and courts have held that it applies only

in the instance of the “deliberate institution of baseless litigation for the precise purpose of

fabricating a reporting privilege.” Long v. Marubeni Am. Corp., 406 F. Supp. 2d 285, 295

(S.D.N.Y. 2005).

         Black, however, invokes the “sham pleading” rule only in the most conclusory fashion,

parroting the language of the standard itself. See AC, Dkt. 46, ¶ 139 (alleging that the privilege

does not apply because the filings relayed to the press “were made exclusively for the purpose of

attempting to cloak the allegations in them with the appearance of such protections, immunities or

privileges”). The amended complaint lacks any plausible factual allegations that Ganieva instituted

her litigation solely for the purpose of fabricating a reporting privilege.

         Quite the contrary, the amended complaint alleges facts that directly negate the notion that

the litigation was instituted simply to conjure the reporting privilege. As the amended complaint

alleges, Ganieva made public her allegations of “Mr. Black being a sexual predator” in March

2021, id. ¶¶ 10, 63, months before she initiated her litigation against Black in June 2021, id. ¶¶ 12,

72. And as the amended complaint recognizes, Ganieva’s litigation included claims “for

defamation based on Mr. Black’s public statement” rebutting her tweets. Id. ¶ 72. In other words,

Black recognizes that Ganieva already had made accusations against him in an entirely non-

privileged context, negating any inference that Ganieva felt she needed a “fair and true reporting”

shield for her accusations. And Black recognizes that Ganieva’s lawsuit was at least in part a

response to Black calling Ganieva a liar, not a lawsuit conjured from the blue in order to attack

Black.

         In any event, even assuming Ganieva did conjure her lawsuit solely as a vehicle to defame




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Black, the amended complaint lacks any non-conclusory allegation that Rubenstein was involved

in generating any such sham pleading, or what his supposed role in generating any such pleading

was. Nor is there any non-conclusory allegation that Rubenstein knew or even should have known

any pleading to be a sham. The amended complaint alleges only that “Wigdor LLP and Ms.

Ganieva knew that the pleadings had no basis in fact.” Id. ¶ 136 (emphasis added). Similarly, the

amended complaint refers to the evidence that Black says conclusively proves Ganieva was lying

as “contemporaneous documentary evidence that Wigdor LLP has deliberately refused to view and

has never rebutted.” Id. ¶ 141 (emphasis added). There is no allegation Rubenstein knew about

any such evidence, or its implications for whether Ganieva was telling the truth, or its implications

for whether Ganieva was bringing her lawsuit solely to defame Black. As the paucity of factual

allegations against Rubenstein makes clear, Rubenstein has no knowledge of any of this, as he is

a stranger to this whole sordid affair, and the amended complaint includes no plausible allegation

to the contrary.

       B.      Black’s Other Stray Allegations Fail To State A Claim

       Black’s handful of other stray allegations in support of his defamation claim do not rescue

his failed claim.

       Other Unspecified Publications. Black’s generic allegation that “Mr. Rubenstein and the

Flacks pushed stories and articles to promote [Ganieva’s] lies” does not plead any defamatory

statements and is too generic to state a claim. AC, Dkt. 46, ¶ 135. As to the one specific allegation

regarding an interview with the New York Post, the statement at issue is attributed to Ganieva, not

Rubenstein. While the amended complaint alleges indiscriminately, and without any factual

elaboration, that the interview was set up by “Mr. Rubenstein and the Flacks,” it pleads no facts

indicating Rubenstein was involved in determining what Ganieva might be asked or might say in

the course of that interview. Id. ¶ 135. There is no adequate allegation that Rubenstein was


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involved in the publication of this allegedly defamatory statement. (Because, again, he was not.)

And even as to the notion that Rubenstein was involved in setting up the interview, the allegations

in the amended complaint are deficient for reasons already discussed. See supra Part I.D.

       Manhattan DA. In his defamation count, Black does not reference the allegation that

Rubenstein falsely told the press that the Manhattan DA was investigating Black. Compare AC,

Dkt. 46, ¶¶ 133-149, with id. ¶¶ 114(b), 117(d), 118(d). To the extent Black nevertheless attempts

to argue the amended complaint should be construed to include that allegation as part of the

defamation count, the allegation cannot support a defamation claim because Black fails to plead

the alleged statement is false.

       The amended complaint states that “the Manhattan District Attorney as a matter of policy

is obligated to examine every complaint of sex abuse.” Id. ¶ 99. Black’s own allegations thus

confirm the substantial truth of the statement that he was, at some point in time, under investigation

by the Manhattan DA in connection with Ganieva’s allegations. New York courts dismiss

defamation complaints for failure to state a claim when the “plaintiff’s own allegations” led to a

“well supported” inference that the statement at issue was not false. Tannerite Sports, LLC v.

NBCUniversal News Grp., a division of NBCUniversal Media, LLC, 864 F.3d 236, 246 (2d Cir.

2017). Any quibble Black might have about the timing of such investigation or whether it was

active at the time of the alleged defamatory statement is irrelevant, because the alleged statement

that the Manhattan DA had opened an investigation was, by Black’s own account, substantially

true. Id. (discussing a case in which a statement that an employee “was going to be fired” was

found to be “substantially true” when, later, the employee was in fact fired).

       C.      Black Cannot Plead Rubenstein Acted With Actual Malice

       Black has also failed to plead that Rubenstein acted with actual malice, which Black is




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required to plead and prove by virtue of his status as a “public figure.” 7

         Black’s own allegations establish him as a public figure, e.g., AC, Dkt. 46, ¶¶ 23-24, who

was implicated in a variety of issues of public interest, ranging from his leadership of Apollo to

his involvement with Jeffery Epstein. Black is thus required to plead, and eventually prove, “actual

malice”—a subjective standard requiring that the defendant “in fact” had a “high degree of

awareness of probable falsity.” St. Amant v. Thompson, 390 U.S. 727, 731 (1968) (citation

omitted). Even at the pleading stage, a plaintiff is required “to allege facts sufficient to show actual

malice with convincing clarity.” Jimenez v. United Fed'n of Tchrs., 657 N.Y.S.2d 672, 673 (App.

Div. 1997). A mere “failure to investigate before publishing . . . is not sufficient to establish

reckless disregard.” Harte-Hanks Commc’ns, Inc. v. Connaughton, 491 U.S. 657, 688 (1989).

         As discussed above, the amended complaint lacks any allegations of fact plausibly

suggesting that Rubenstein in fact had a high degree of awareness of the probable falsity of

Ganieva’s statements about Black. The allegations of knowledge of falsity relate to Wigdor and

Ganieva, not Rubenstein. See AC, Dkt. 46, ¶¶ 136, 141; see supra Part II.A. Allegations about

Wigdor or Ganieva or anyone else in the enterprise supposedly acting with actual malice may not

be blithely attributed or carried over to Rubenstein. N.Y. Times Co. v. Sullivan, 376 U.S. 254, 287

(1964) (“[T]he state of mind required for actual malice [must] be brought home to the persons in

the . . . organization having responsibility for the publication . . . .”).

         D.       Alternatively, The Court Should Decline To Exercise Supplemental
                  Jurisdiction

         Alternatively, if the Court dismisses Black’s civil RICO claims but for whatever reason is

not prepared to dismiss Black’s defamation claim on the merits, the Court should at least decline


7
 Rubenstein reserves all rights to argue that Black is also required to plead and prove actual malice under New York’s
anti-SLAPP statute, N.Y. Civ. Rights Law §76-a, but the Court need not decide the issue given Black’s status as a
public figure.


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to exercise supplemental jurisdiction over the defamation claim. This Court routinely declines to

exercise supplemental jurisdiction over state law claims after dismissing the federal claims

providing the basis for original jurisdiction. E.g., Daniel v. City of New York, No. 20 CIV. 11028,

2021 WL 5988305, at *11 (S.D.N.Y. Dec. 16, 2021); Cajero Torres v. Sushi Sushi Holdings Inc.,

No. 19 Civ. 2532, 2021 WL 2158017, at *6 (S.D.N.Y. May 27, 2021).

III.   Black’s Claims Should Be Dismissed With Prejudice

       Respectfully, the Court should dismiss Black’s claims against Rubenstein with prejudice.

       The defects in Black’s pleading are so pervasive that they cannot be cured by amendment.

This is, moreover, already Black’s second attempt to plead his claims. While Rubenstein was not

identified by name in Black’s original complaint, it appears he is one of the previously unnamed

“Flacks” that Black alleged to be part of the scheme against him. Wigdor’s prior motion to dismiss

fully put Black on notice about deficiencies in his prior complaint, including with respect to the

lack of adequate factual detail plausibly implicating any of the “Flacks” in RICO violations or

defamatory conduct. E.g., Wigdor Motion to Dismiss, Dkt. 43, at 2, 5-6, 9-10, 12-13, 23.

       The amended complaint is apparently the best Black could do. He has come nowhere close

to pleading viable claims against Rubenstein. In these circumstances, dismissal with prejudice is

the appropriate course. Vasquez, 2019 WL 2327810, at *19 n.7 (dismissing a RICO claim with

prejudice when the plaintiffs had “already amended their complaint once” and had “not pointed to

any additional facts . . . that could cure the deficiencies” in the complaint); Brady v. IGS Realty

Co. L.P., No. 19 Civ. 10142, 2020 WL 5414683, at *13 (S.D.N.Y. Sept. 8, 2020). Black’s efforts

to deflect attention from his own headlines by targeting innocent bystanders like Rubenstein should

be put to a swift, conclusive end.




                                                23
                                        CONCLUSION

       For the foregoing reasons, Rubenstein respectfully requests that the Court grant the motion

to dismiss Black’s claims against him—for civil RICO violations, 18 U.S.C. § 1962(c) (Count I),

civil RICO conspiracy, 18 U.S.C. § 1962(d) (Count II), and defamation per se (Count III)—with

prejudice.

Dated: New York, New York
       March 4, 2022

                                                    Respectfully submitted,

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